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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

I.]NITED STATES OF AMERICA                          )
                                                    )
     v                                              )      CR. NO. 2:21 -cr-0041 7-MHT-SMD
                                                    )
XIAOMING ZHANG                                      )

                                        PLEA AGREEMENT

                                I. BACKGROUND INFORMATION

A.   Attorneys

Defense Attorney:                       Algert S. Agricola, Jr

Assistant United States    Attorney: Brett J. Talley

B.   Count and Statute Charged

Count    1:        l8 U.S.C. $ 1001(a)(2) - Making      a Material False Statement

C.   Count Pleading Pursuant to Plea Agreement

Count    1:        18 U.S.C. $ 1001(a)(2)   -   Making a Material False Statement

D.       Statutory Penalties

Count    l:        18 U.S.C. $ 1001(a)(2)   -   Making a Material False Statement

        A term of imprisonment of not more than 5 years, a fine of not more than $250,000 or twice
the value of the property involved in the transaction, whichever is greater, or both the fine and
imprisonment; a term of supervised release of not more than 1 year; an assessment fee of $100;
and an order of restitution.

E.       Elements of the Offense

Count    l:               l8 U.S.C. $ 1001(a)(2) - Making      a   Material False Statement:
         First:           The defendant made a statement;
         Second:          The statement was false, fictitious, or fraudulent;
         Third:           The falsity concerned a material matter;
         Fourth:          The defendant acted willfully, knowing that the statement was false; and
         Fifth:           The false statement was made or used for a matter within the jurisdiction of
                          a department or agency of the United States.
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                                      II.INTRODUCTION

       Brett J. Talley, Assistant United States Attorney, and Algert S. Agricola, Jr., attorney for

the defendant, XiaomingZhang, pursuant to Rule       l1(cX1)(A) and Rule 11(c)(l)(B) of the Federal

Rules of Criminal Procedure, with the authorization of the defendant, submit this plea agreement.

The terms are as follows.

                            III. THE GOVERNMENT'S PROVISIONS

       1   .   Pursuant to Rule 1 1(cX1XB), the government agrees to recommend a sentence         of

no greater than the bottom, that is, the lowest number, of the advisory Guidelines range,         as


calculated by the Court at the sentencing hearing.

       2.      The government acknowledges that the defendant assisted authorities in            the

investigation and prosecution    of the defendant's own      misconduct by timely notifuing the

government of the defendant's intention to enter a guilty plea, thereby permitting the government

to avoid preparing for trial and allowing the govemment and the Court to allocate         resources

efficiently. Provided the defendant otherwise qualifies, and that the defendant does not, before the

date of the sentencing hearing, either personally or through the actions of the defense attorney on

behalf of the defendant, take any action inconsistent with the acceptance of responsibility, the

government will move at or before the sentencing hearing for a further reduction of one level. See

U.S.S.G. $ 3E1.1(b). Determination of whether the defendant met the defendant's obligations to

qualifu for a reduction pursuant to $ 3E1.1(b) is at the sole discretion of the government. Further,

the govemment reserves the right to oppose the defendant's receiving a two-level reduction

pursuant to $ 3E1.1(a) should the government receive information indicating that, between the

date of the plea hearing and the date of the sentencing hearing, the defendant, either personally or

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through the actions of the defense attorney on behalf of the defendant, has acted inconsistent with

the acceptance of responsibility.

         3.     Pursuant to Rule    1l(c)(l)(A), the government   agrees that it   will not bring   any

additional charges against the defendant for the conduct described in the Information.

                             IV. THE DEFENDANT'S PROVISIONS

         4.    The defendant agrees to plead guilty to Count 1 and to make factual admissions              of

guilt in open court. The defendant fuither agrees to waive any right the defendant may have to

subsequently withdraw the guilty plea pursuant to Rule       ll(d). The defendant        also promises to

refrain from taking any action inconsistent with the defendant's acceptance of responsibility for

the offense to which the defendant is pleading guilty.

         5.    The defendant reserves the right to request a downward variance, that is, a sentence

below the bottom, that is, the lowest number, of the advisory Guidelines range.

         6.    The defendant acknowledges that the defendant         will not be allowed to withdraw

the guilty plea in the event that the Court does not accept any or all of the recommendations made

pursuant to Rule 11(c)(l)(B). The defendant also understands that the defendant           will be allowed

to withdraw the guilty plea in the event that the Court does not accept any or all of the provisions

set forth pursuant to   Rule 11(cXl)(A).

         7.     The defendant agrees not to commit any other federal, state, or local offense while

awaiting sentencing, regardless of whether that offense is charged or chargeable. The defendant

agrees   to provide truthful information to Probation and to the Court in all presentence                 and

sentencing proceedings.




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       8.      The defendant agrees to pay all fines and restitution imposed by the Court to the

Clerk of the Court. The defendant acknowledges that the full fine and restitution amounts shall be

considered due and payable immediately. If the defendant cannot pay the full amount immediately

and is placed in custody or under the supervision of Probation at any time, the defendant agrees

that the United States Bureau of Prisons and Probation    will   have the authority to establish payment

schedules to ensure payment of the fine and restitution. The defendant further agrees to cooperate

fully in efforts to collect any financial obligation imposed by the Court by set-off from federal

payments, execution on non-exempt property, and any other means the government deems

appropriate. The defendant also agrees that the defendant may be contacted by government

officials regarding the collection of any financial obligation imposed by the Court without

notifuing the defendant's attorney and outside the presence of the defendant's attorney.

       9.      To facilitate the collection of financial obligations imposed in this case, the

defendant agrees to disclose fully all assets in which the defendant has any interest or over which

the defendant exercises control, directly or indirectly, including those held by a spouse, nominee,

or third party. Further, the defendant will,   if   requested by the government, promptly submit a

completed financial statement to the Office of the United States Attorney for the Middle District

of Alabama in a form the govemment provides and as the government directs. The defendant

promises that such financial statement and disclosures      will be complete, accurate, and truthful.

The defendant expressly authorizes the govemment to obtain a report on the defendant's credit in

order to evaluate the defendant's ability to satisff any financial obligation imposed by the Court.

        10.    The defendant certifies that the defendant has made no transfer of assets in

contemplation of this prosecution for the purpose of evading or defeating financial obligations that


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are created by this agreement or that may be imposed upon the defendant by the Court. In addition,

the defendant promises that the defendant will make no such transfers in the future.

        1   1.   The defendant agrees to pay the $ 100 assessment fee on the date of sentencing.

        12.      The defendant agrees to waive and hereby waives all rights, whether asserted

directly or by a representative, to request or receive from any department or agency of the United

States any records pertaining to the investigation or prosecution     of this case, including, but not

limited to, any records that may be sought under the Freedom of Information Act, see 5 U.S.C.

$ 552, or the Privacy Act   of 1974, see 5 U.S.C. $ 552a.

        13.      The defendant agrees to the following additional conditions:

                 a.     The defendant will resign from any position he currently holds with the

                 United States or any contractor of the United States.

                 b.     The defendant agrees never to seek employment with the United States or

                 any contractor of the United States in the future.

                 c.     The defendant agrees never to seek a security clearance directly from the

                 United States or through any other private or govemmental organization.

                                            V. FACTUAL BASIS

        14.      The defendant admits the allegations charged in the Information and understands

that the nature of the charges to which the plea is offered involves proof as to Count 1. Specifically,

the defendant admits the following to be true and correct:

                 a.     The defendant has been a civilian professor at the       Air War College at
                 Maxwell Air Force Base since July 2003. A naturalized citizen of Chinese descent,

                 defendant has traveled   to China on a regular basis for work-related putposes,


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      research, and to visit family.

      b.     At all times relevant to the Information in this matter,     defendant held a

      SECRET clearance.

      c.     As part of his employment at the Air War College, defendant attended

      annual security training that cautioned employees about suspicious foreign contacts

      and reiterated reporting requirements. In addition, prior to traveling to China as part

      of the Regional Cultural Studies/Regional Security Studies program, the Air Force

      briefed travelers regarding the operation     of Chinese intelligence officers, and
      informed travelers that they must report any encounters with Chinese government

      officials, any business cards received from Chinese nationals, and any offers by any

      Chinese national of anything of value, including travel.

      d.     Beginning in approximately 2012, defendant began a relationship with

      Huang Yonggang, a known foreign govemment official working at the Shanghai

      Municipal Govemment. Defendant met with Huang on approximately six occasions

      from December 2012 to January 2017 and exchanged 40 emails from March2013

      to Decemb er 2015 . At some point during this period, defendant came to understand

      that Huang was using or attempting to use their relationship to gain access to

      sensitive information in defendant's possession as well as to make contact with

      other potentially valuable individuals.

      e.     On or about August 7, 2077, in a matter within the jurisdiction of the

      executive branch of the United States, namely the Office of Personnel Management

      (OPM) and the Department of Defense, defendant knowingly and willfully made


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                false, fictitious, or fraudulent statements       to OPM    investigators. Specifically,

                defendant was asked whether he knew Huang and replied that he did not.

                f.        During an interview with FBI Special Agents on July 30,2020, defendant

                admitted to meeting with Huang in China on numerous occasions, he admitted to

               making false statements concerning that information, and he admitted to concealing

               his relationship with Huang because defendant knew it was improper.

    VI. THE DEFENDANT'S WAIVER OF APPEAL AND COLLATERAL ATTACK

        15.    Understanding that 18 U.S.C. 53742 provides for appeal by a defendant of the

sentence under certain circumstances, the defendant expressly waives any and all rights conferred

by 18 U.S.C. 5 3742 to appeal the conviction or sentence. The defendant further expressly waives

the right to attack the conviction or sentence in any post-conviction proceeding, including

proceedings pursuant to 28 U.S.C. g 2255. Exempt from this waiver is the right to appeal or

collaterally attack the conviction or sentence on the grounds of ineffective assistance of counsel or

prosecutorial misconduct.

        16.    In retum for the above waiver by the defendant, the govemment does not waive its

right to appeal any matter related to this case, as set forth at 18 U.S.C . 5 3742(b). However, if the

govemment decides to exercise its right to appeal, the defendant is released from the appeal waiver

and may pursue any appeal pursuant         to   18 U.S.C. $ 37a2@).

                                 VII. BREACH OF THE PLEA AGREEMENT

        17.    The parties agree that the issue of whether either party has breached this agreement

at any time is one that   will   be resolved by the Court by a preponderance of the evidence, except as

set forth in paragraph 19. The parties agree that, should either party obtain information causing the



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parry to develop a good faith belief that the other party has breached this agreement, then the party

will promptly file a written motion--or           make an oral motion        if   doing so would be more

expedient-asking that the Court declare the other party to be in breach of the plea agreement.

          18.     The parties agree that, a breach of the plea agreement by the defendant would

include, but not be limited to: (1) failing to     fulfill   each of the defendant's obligations under this

plea agreement; (2) committing new criminal conduct; or (3) seeking to withdraw the guilty plea

or otherwise engaging in conduct inconsistent with an acceptance of responsibility. Should the

Court find the defendant to have breached this agreement: (1) the government will be free from its

obligations under this agreement; (2) the defendant will not be permitted to withdraw the guilty

plea; (3) the defendant's obligations and waivers under this agreement             will remain in full force

and effect; (4) the defendant   will   be subject to prosecution for other crimes; and (5) the govemment

will   be free to use against the defendant, directly and indirectly, in any criminal or   civil proceeding,

all statements by the defendant and any information or materials provided by the                 defendant,

including statements made during the plea hearing and all statements made by the defendant

pursuant to proffer letters.

          19.     The parties agree that, in the event that the defendant breaches this agreement by

committing new criminal conduct, the government will be required to only establish probable

cause    to believe that the defendant committed a new criminal offense for the Court to find the

defendant in breach of the plea agreement.

          20.     The parties agree that, should the Court find the govemment in breach of this plea

agreement, the defendant may cancel this agreement and thus be released from the appellate and

collateral attack waivers. The parties further agree that a breach of the plea agreement by the


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govemment       will not automatically entitle the defendant to withdraw the guilty plea and, if     the

defendant should seek to withdraw the guilty plea on the basis of such a breach, then the defendant

will   be required to   file   a motion pursuant to Rule 11(d), which the government could oppose.

                        VIII. THE DEFENDANT'S ACKNOWLEDGEMENTS

          21.     The defendant acknowledges that the Court is neither a party to nor bound by this

agreement. The defendant understands and acknowledges that, although the parties are permitted

to make recommendations and present arguments to the Court, the Court will determine the

advisory Guidelines range and the sentence. The defendant acknowledges that the defendant and

the defendant's attorney have discussed the advisory Guidelines and the statutory sentencing

factors set forth at 18 U.S.C. $ 3553(a) and the defendant understands how those provisions may

apply in this case. The defendant further understands that the defendant will have no right to

withdraw a guilty plea on the basis that the Court calculates an advisory Guidelines range that

differs from the range projected by the defense attorney or the government.

         22.      The defendant acknowledges that the defendant authorized and consented to the

negotiations between the government and the attorney for the defendant that led to this agreement.

          23.     The defendant understands that: (1) in pleading guilty, the defendant may be

required to make statements under oath; and (2) the government has a right to use against the

defendant, in a prosecution for perjury or for making a false statement, any statement that the

defendant makes. However, as the defendant understands, the government may not use as evidence

against the defendant in any future proceeding involving the charges alleged in the Information or

related offenses, the defendant's guilty plea       if the Court permits the defendant to withdraw that

guilty plea.


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         24.       The defendant understands that    if   the defendant pleads guilty pursuant to this

agreement and the Court accepts that guilty plea, the defendant      will waive certain rights, namely:

(l)the right to plead not guilty or to persist in a plea of not guilty; (2)the right to a jury trial;

(3) the right to be represented by counsel-and if necessary to have the Court appoint counsel-

at trial and at every other stage   ofthe proceeding; and (4) the right at trial to confront and cross-

examine adverse witnesses, to be protected from compelled self-incrimination, to testiff and

present evidence, and to compel the attendance of witnesses.

         25.       The defendant understands: (1) the nature of each charge to which the defendant is

pleading guilty; (2) the maximum and minimum possible penalties associated with each charge to

which the defendant is pleading guilty, including imprisonment, frne, and a term of supervised

release; (3) any applicable mandatory minimum penalty associated with a charge to which the

defendant is pleading guilty; (4) any applicable forfeiture provision applicable to a charge to which

the defendant is pleading guilty; (5) the Court's authority to order restitution; and (6) the Court's

obligation to impose a special assessment.

         26.       The defendant confirms that the entirety of any agreement between the defendant

and the government is as set forth in this agreement and any addendum to this agreement and that

the government has not made any promises to the defendant other than those contained in this

agreement and any addendum to this agreement. This agreement consists             of 12 pages and 31
paragraphs and an addendum.

         27.       The defendant confirms that counsel has competently and effectively represented

the defendant throughout the proceedings leading to the entry of a guilty plea. The defendant is

satisfi ed   with such representation.


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        28.     The defendant acknowledges that the defendant enters this plea agreement and

pleads guilty freely and voluntarily. That is, the defendant acts without being influenced by any

threats, force, intimidation, or coercion of any kind.

        29.     The defendant understands that this agreement binds only the Office of the United

States Attorney for the   Middle District of Alabama and that the agreement does not bind any other

component     of the United     States Department   of Justice, nor does it bind any state or   local

prosecuting authority.

                           IX. THE ATTORNEYS' ACKNOWLEDGEMENTS

        30.     The attorneys for the government and for the defendant acknowledge that this plea

agreement contains the entirety of any agreement between the parties and that the parties reached

this plea agreement in accordance with the procedure set forth at Rule 1 1.

       31.      The attorney for the defendant confirms that the attomey for the defendant advised

the defendant of:    (l)the   nature of the charges to whichthe defendant is pleading guilty; (2)the

penalties associated with those charges; (3) the rights that the defendant is waiving by pleading

guilty; and (a) the possibility that statements made by the defendant under oath during a plea

hearing may be used against the defendant in a subsequent prosecution for perjury or for making

a false statement.

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                                                 Respectfully submiued,

                                                 SANDRA J. STEWART
                                                 ACTING UNITED STATES ATTORNEY




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Alice S. LaCour
Deputy Criminal Chief




Brett J. Talley
Assistant United States Attorney


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Defendant




          Agricola, Jr
          for the




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